Case:13-19032-MER Doc#:226 Filed:02/13/17    Entered:02/13/17 13:46:45 Page1 of 8



               IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE DISTRICT OF COLORADO
                    The Honorable Michael E. Romero

 In re:
                                          Case No. 13-19032
 TERRY LEE EVANSON and
 LYNETTE PEARCE EVANSON,
                                          Chapter 11
             Debtors.

                                    ORDER

       THIS MATTER comes before the Court on the United States Trustee’s
 Motion to Dismiss or Convert Chapter 11 Case (Docket No. 158) and the
 Debtors’ Motion to Dismiss Chapter 11 Bankruptcy Case (Docket No. 180),
 and the parties’ respective responses to each.

       The Court has reviewed the documents filed by the parties, has
 considered the arguments, and has examined the evidence, and finds and
 concludes as follows:

                               JURISDICTION

       The Court finds it has jurisdiction over this matter under 28 U.S.C.
 §§ 1334(a) and (b) and 157(a) and (b)(1). This is a core proceeding under
 28 U.S.C. § 157(b)(2)(A) and (O) as it involves matters concerning
 administration of the estate and the bankruptcy remedies of conversion to
 Chapter 7 liquidation and dismissal. Additionally, venue is proper in this
 Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                BACKGROUND

       As background, the Court finds the record and the evidence presented,
 including the parties’ Stipulated List of Uncontested Background Facts filed
 at Docket Number 220, established the following facts:

       More than three years ago, on May 28, 2013, the Debtors, Terry Lee
        Evanson and Lynette Pearce Evanson, filed a voluntary petition under
        Chapter 11 of the U.S. Bankruptcy Code.

       The Debtors are the owners in fee simple of real property located at
        10175 S. Oneida Street, Littleton, Colorado 80124. The property has
        a scheduled value of $975,000. The Debtors have resided in the
        property since 1988 and claim the maximum homestead exemption
        allowable under Colorado law.
Case:13-19032-MER Doc#:226 Filed:02/13/17              Entered:02/13/17 13:46:45 Page2 of 8



        Among the assets scheduled by the Debtors, in addition to their
         interest in the real property, are several items of household and
         personal goods, life insurance and retirement accounts, vehicles, and
         lawn equipment.

        The Debtors also scheduled approximately a dozen potential claims
         against individuals and entities. These claims were all scheduled with
         “unknown” values.

        The debts scheduled by the Debtors are primarily business debts, and
         include a $1,500,000 unsecured debt owed to Command Center, Inc.
         scheduled by the Debtors as contingent, unliquidated and disputed.

        The debt owed to Command Center arose out of pre-petition litigation
         in the District Court of the City and County of Denver, Colorado.

        The Command Center litigation was the impetus for the Debtors’
         bankruptcy filing.

        During the pendency of the Chapter 11 case, Command Center
         requested the automatic stay be modified to allow the litigation to
         proceed. The litigation with Command Center concluded post-petition
         and resulted in a judgment in favor of the Debtor and against
         Command Center. The parties stipulated Command Center is not a
         creditor of the Debtors.

        The Debtors have also been embroiled in disputes with the Internal
         Revenue Service (“IRS”). On May 6, 2013, three weeks prior to the
         Debtors’ bankruptcy filing, the IRS filed a federal tax lien against their
         property. The IRS filed a proof of claim in the bankruptcy case
         consisting of a secured claim for $26,940.00, an unsecured priority
         claim of $251,812.26, and a general unsecured claim in the amount of
         $666,674.88.

        The Debtors believed the bankruptcy court would provide a forum for
         expeditiously resolving the claims with the IRS, which are the subject
         of pending actions in the United States Tax Court.

        On December 8, 2015, the United States Trustee (“UST”) filed a
         motion under 11 U.S.C. § 1112(b) 1 of the Bankruptcy Code to convert
         or dismiss the Debtors’ Chapter 11 bankruptcy case, arguing cause



 1
  Unless otherwise noted, all future statutory reference in the text are to Title 11 of the
 United States Code.



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Case:13-19032-MER Doc#:226 Filed:02/13/17            Entered:02/13/17 13:46:45 Page3 of 8



           exists under § 1112(b) and conversion to a case under Chapter 7 is in
           the best interest of creditors and the estate.

          The Debtors objected to the UST’s motion, arguing creditors would not
           be served by a conversion of their bankruptcy case to Chapter 7.
           Additionally, the Debtors filed their own motion to dismiss this
           bankruptcy case, asserting dismissal to be in the best interests of the
           estate, creditors and the Debtors themselves.

                                      DISCUSSION

      Section 1112(b)(1), which governs conversion or dismissal of a
 Chapter 11 case, provides as follows:

           Except as provided in paragraph (2) and subsection (c), on
           request of a party in interest, and after notice and a hearing, the
           court shall convert a chase under this chapter to a case under
           chapter 7 or dismiss a case under this chapter, whichever is in the
           best interests of creditors and the estate, for cause unless the
           court determines that the appointment under section 1104(a) of
           a trustee or an examiner is in the best interests of creditors and
           the estate.2

 Section 1112(b)(1) thus requires the bankruptcy court to make two
 determinations: 1) whether cause exists to convert or dismiss; and 2) which
 option is in the best interests of creditors and the estate.3 Following
 BAPCPA’s 2005 amendments to the Bankruptcy Code, if “cause” is
 established under § 1112(b)(1), the Court is obligated to convert or dismiss
 the case, absent contravening “unusual circumstances” under § 1112(b)(2)
 or unless a limited exception applies.

      Cause sufficient for dismissal or conversion of a Chapter 11 case to
 Chapter 7 is enumerated in a non-exclusive list contained in § 1112(b)(4).
 However, in this case the Court need not itself examine whether cause exists
 because prior to the Court’s hearing on this matter, the parties stipulated
 and agreed cause for conversion or dismissal exists under § 1112(b)(1).
 The only disputed issue is whether conversion or dismissal is appropriate.4

 2
     § 1112(b)(1).

 3
   In re OptInRealBig.com, LLC, 345 B.R. 277, 282 (Bankr. D. Colo. 2006) (citing Rollex Corp.
 v. Associated Materials, Inc. (In re Superior Siding & Window, Inc.), 14 F.3d 240, 242 (4th
 Cir.1994)).
 4
   Docket No. 220, ¶1. Further, neither the Debtor nor the UST requested or presented
 evidence in support of the appointment of a Chapter 11 trustee under § 112(b)(1), nor did
 the parties establish any of the requirements under § 1112(b)(1)(A) and (B) necessary for
 the case to remain in Chapter 11.


                                              3
Case:13-19032-MER Doc#:226 Filed:02/13/17              Entered:02/13/17 13:46:45 Page4 of 8



       The Bankruptcy Code neither defines the phrase nor sets forth what
 factors to consider in determining what “is in the best interests of creditors
 and the estate.” The Court’s decision ultimately requires the exercise of
 discretion based upon the totality of the circumstances of the case.5 The
 Court starts with the positions of the parties.6 Where, as in this case, the
 parties disagree as to whether dismissal or conversion is the appropriate
 action, the Court evaluates both alternatives and chooses the one most
 advantageous to the estate as a whole.7

       In making such a determination, bankruptcy courts, including this
 Court, have considered factors enumerated by Collier’s bankruptcy treatise.
 These factors include:

           1)    Whether some creditors received preferential payments,
                 and whether equality of distribution would be better served
                 by conversion rather than dismissal;

           2)    Whether there would be a loss of rights granted in the case
                 if it were dismissed rather than converted;

           3)    Whether the debtor would simply file a further case upon
                 dismissal;

           4)    The ability of the trustee in a chapter 7 case to reach assets
                 for the benefit of creditors;

           5)    In assessing the interest of the estate, whether conversion
                 or dismissal of the estate would maximize the estate's value
                 as an economic enterprise;

           6)    Whether any remaining issues would be better resolved
                 outside the bankruptcy forum;

           7)    Whether the estate consists of a “single asset;”

           8)    Whether the debtor had engaged in misconduct and whether
                 creditors are in need of a chapter 7 case to protect their
                 interests;




 5
     In re Autterson, 547 B.R. 372, 410 (Bankr. D. Colo. 2016).

 6
     Id.

 7
     In re Hampton Hotel Investors, L.P., 270 B.R. 346, 359 (Bankr. S.D.N.Y. 2001).


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Case:13-19032-MER Doc#:226 Filed:02/13/17          Entered:02/13/17 13:46:45 Page5 of 8



       9)     Whether a plan has been confirmed and whether any
              property remains in the estate to be administered; and

       10)    Whether the appointment of a trustee is desirable to
              supervise the estate and address possible environmental
              and safety concerns.8

 The Court finds several of these factors applicable and, based on an analysis
 of these factors on the evidence presented, the Court finds the interests of
 creditors are best served by dismissal of the Debtors’ case.

        First, there was no evidence or argument presented to the Court
 suggesting some creditors received preferential payments or equality of
 distribution would be better served by conversion rather than dismissal.
 Even if there was evidence presented of potentially avoidable preferential
 payments to creditors, or other transfers potentially avoidable under other
 sections of the Bankruptcy Code, any such actions by a Chapter 7 trustee
 would likely be barred by the limitations period under § 546(a). This case
 has been pending for well over two years since the order for relief was
 entered and no trustee has been appointed. By operation of § 546(a)(1),
 the time for commencing avoidance actions has passed. Therefore, this
 factor weighs in favor of dismissal.

        With regard to the second factor, the Court finds this factor also
 weighs in favor of dismissal. As noted, any right to pursue avoidance
 actions on behalf of creditors and the estate is likely barred by § 546(a).
 Further, if the case is dismissed, the rights of Debtors’ creditors to pursue
 their legal and contractual remedies against the Debtor are not diminished.
 Creditors may opt to commence their “race to the courthouse” and seek
 judgments and collection against the Debtors outside of bankruptcy, courses
 of action not immediately available to them in a Chapter 7 case.

        In light of the Debtors’ ongoing dispute with the IRS and the possibility
 creditors’ actions outside of bankruptcy, Debtors may very well file another
 bankruptcy petition. However, the Court finds that is not a sufficient reason
 for this case to remain open. Moreover, the length of time which may pass
 before resolution of the IRS dispute weighs against keeping the Debtors’
 bankruptcy case open. Accordingly, the third factor, whether the debtor
 would simply file a further case upon dismissal weighs in favor of dismissal
 rather than conversion.



 8
  7 Collier on Bankruptcy 1112-39 to 42, ¶ 1112.04[7] (Alan N. Resnick and Henry J. Sommer
 eds., 16th ed. rev.2007).



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Case:13-19032-MER Doc#:226 Filed:02/13/17      Entered:02/13/17 13:46:45 Page6 of 8



        The Court finds the fourth factor, the ability of the trustee in a Chapter
 7 case to reach assets for the benefit of creditors, also weighs in favor of
 dismissal. The Debtors have claimed exemptions in substantially all of their
 personal assets. Although the Debtors scheduled thirteen potential claims
 against third parties, the Debtor’s counsel, Jeffrey A. Weinman, testified at
 trial that special counsel was retained to review the potential claims and
 concluded those matters were not worth pursuing on behalf of the estate.

       The principal dispute is the Debtors’ residence and whether a Chapter
 7 trustee could administer the asset for the benefit of creditors in spite of
 deeds of trust and an IRS federal tax lien recorded against the property.
 The Debtors scheduled the value of the property at $957,000, and have
 claimed the maximum $90,000 exemption allowed under Colorado law. The
 Debtors scheduled a mortgage lien against the property in favor of Hill
 Property in the amount of $891,175.58. Mr. Evanson testified no payments
 have been made to Hill Property since this bankruptcy case was filed.

       The UST questioned the validity of the debt secured by the Debtors’
 property, calling the lien in favor of Hill Property “highly dubious.” The UST
 labeled the Hill Property debt an “insider debt” that might have been
 cancelled years ago, and argued the deed of trust may not be valid and thus
 it may not be a secured debt. According to the UST, the only secured debt
 against the property may be the IRS’s secured claim of $26,940.00. Based
 on what it called “red flags” with respect to the liens against the Debtors’
 property, the UST believes appointment of a Chapter 7 trustee is necessary
 to permit an independent fiduciary to investigate the validity of the liens
 against the property and determine whether the asset can be administered
 for the benefit of creditors.

        However, the Court finds, based on the totality of the evidence
 presented to it, the ability of a Chapter 7 trustee to reach this asset for the
 benefit of creditors is too speculative to warrant conversion of this case at
 this time. Even if a Chapter 7 trustee could take actions not barred under
 § 546 to unencumber the property from the various liens, any proceeds from
 the sale of the property would likely go to satisfy administrative costs and
 the priority claim of the IRS, and any other priority claimants, if only
 partially, before any unsecured creditors could see any recovery. There
 would likely be nothing left for unsecured creditors at the end of the day.
 The Debtors do not have sufficient nonexempt assets, or a sufficient
 likelihood of nonexempt assets, for this case to be converted and
 administered by a Chapter 7 trustee. Accordingly, the fourth factor supports
 dismissal of the Debtors’ Chapter 11 case.

       As to the fifth factor, whether conversion or dismissal would maximize
 the estate’s value as an economic enterprise, the Court finds this factor to


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Case:13-19032-MER Doc#:226 Filed:02/13/17    Entered:02/13/17 13:46:45 Page7 of 8



 be inapplicable. This factor applies where the debtor is a business entity and
 not individual debtors.

         The sixth factor, whether any remaining issues would be better
 resolved outside the bankruptcy forum, clearly weighs in favor of dismissal.
 The impetus for the Debtors’ bankruptcy filing, the Command Center
 litigation in state court, has since been resolved, and what presently remains
 are the pending actions against the Debtors in the U.S. Tax Court. The
 Court finds it more appropriate, and a better use of judicial resources, for
 the Debtors’ dispute with IRS to be dealt with in the U.S. Tax Court, and not
 in this Court or in the context of a Chapter 7 bankruptcy proceeding.
 Accordingly, this factor also favors dismissal.

       The seventh factor, whether the estate consists of a single asset, also
 does not appear to be applicable in this case. The estate mostly consists of
 exempt personal property and potential causes of action which counsel has
 judged to either be valueless or without merit. While the Debtors do own
 real property which may be the subject of an investigation by a Chapter 7
 trustee and which may be the subject of adversary proceedings, those mere
 prospects alone are insufficient to support conversion over dismissal of this
 case.

       With respect to the eighth factor, there are no allegations by the UST
 that the Debtors engaged in any misconduct with respect to their assets and
 there was no evidence presented to the Court supporting any kind of
 inference of misconduct. Although the UST raised issues concerning the
 mortgage on the Debtors’ property and called into doubt whether a valid lien
 on that property does exist, there was not sufficient evidence to support
 conversion and appointment of a Chapter 7 trustee obligated to investigate
 those issues. Therefore, the eighth factor weighs in favor of dismissal rather
 than conversion.

       As to the ninth factor, whether a plan has been confirmed and whether
 any property remains in the estate to be administered, no plan has been
 proposed in this case and no plan has been confirmed. However, there
 appear to be no nonexempt assets available for any meaningfuldistribution
 to unsecured creditors. Therefore, this factor supports dismissal over
 conversion.

       The tenth and final factor does not apply because there are no possible
 environmental and safety concerns.

       Finally, if this case was converted to one under Chapter 7, the
 administrative costs associated with the case would increase, because a
 Chapter 7 trustee would be obligated to investigate the Debtors’ financial
 condition, pursue and liquidate assets, and investigate and prosecute any


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Case:13-19032-MER Doc#:226 Filed:02/13/17      Entered:02/13/17 13:46:45 Page8 of 8



 potential adversary proceedings. Dismissal would alleviate these burdens
 and costs, and would allow the Debtors and creditors to resolve their
 disputes outside of bankruptcy without further delay.

                                 CONCLUSION

      The Court concludes the weight of these factors favor dismissal of the
 Debtors’ bankruptcy case as being in the best interests of creditors.

       Though the Court finds dismissal under § 1112(b) to be the
 appropriate outcome in this case, the decision is by no means a criticism of
 the efforts of the UST. The UST certainly has the authority to move for
 conversion or dismissal of a Chapter 11 case for cause, and it is the province
 of that office to seek appointment of an independent trustee where it
 believes doing so is in the best interests of creditors and the estate. This
 responsibility is in no way diminished if no creditors join the effort.

       Rather, the Court’s examination of the evidence and arguments made
 by the parties and application of the aforementioned factors revealed
 comprised a very close decision for the Court. Ultimately, the Court finds
 the UST has not satisfied its legal burden of demonstrating conversion is
 more appropriate and the Court finds the interests of creditors are best
 served by dismissal of the Debtors’ case. Accordingly,

      IT IS ORDERED the Debtor’s Chapter 11 case is dismissed pursuant to
 11 U.S.C. § 1112(b).


       Dated February 13, 2017             BY THE COURT:


                                           _________________________
                                           Michael E. Romero, Chief Judge
                                           United States Bankruptcy Court




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